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                                  UNITED STATES BANKRUPTCY COURT
                                   SOUTHERN DISTRICT OF FLORIDA
                                     WEST PALM BEACH DIVISION

                                                                                    CASE NO.: 23-12138-BKC-EPK
                                                                                 PROCEEDING UNDER CHAPTER 13

IN RE:

JESSICA LEIGH SHROYER
XXX-XX-5385

DEBTOR
_____________________________/

                             NOTICE OF CONTINUED CONFIRMATION HEARING

YOU ARE HEREBY NOTIFIED that the Confirmation Hearing has been continued to:

Date:           October 10, 2023
Time:           9:00 AM
Location:       Video Conference by Zoom for Government

The hearing scheduled by this notice will take place only by video conference. DO NOT GO TO THE
COURTHOUSE. Attorneys must advise their clients not to appear at the courthouse. Although conducted
by video conference, the hearing is a court proceeding. The formalities of the courtroom must be
observed. All participants must dress appropriately, exercise civility, and otherwise conduct themselves in
a manner consistent with the dignity of the Court.

To participate in the hearing, you must register in advance no later than 3:00 p.m., one business day before
the date of the hearing. To register, click on or enter the following registration link in a browser:

https://www.zoomgov.com/meeting/register/vJIsduGsrTouGn7Udkhqe_ZF90qPJ3uM95E

COLIN LLOYD, ESQUIRE, must:

   (a)      serve a copy of this notice of hearing and, unless previously served, the above-described
            document(s) on all required parties within the time frame required by the Federal Rules of
            Bankruptcy Procedure, the local rules of this Court, and orders of the Court, and

   (b)      file a certificate of service as required under Local Rules 2002-1(F) and 9073-1(B).

Any party who fails to properly serve any pleading or other paper may be denied the opportunity to be
heard thereon.

PLEASE NOTE: No person may record the proceedings from any location by any means. The audio
recording maintained by the Court will be the sole basis for creation of a transcript that constitutes the
official record of the hearing.
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                                                                                 CASE NO.: 23-12138-BKC-EPK



PLEASE TAKE NOTICE the Court may dismiss the above-referenced case for failure to propose a
confirmable plan or for any other reason deemed necessary by the Court without further notice.

    I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the
Southern District of Florida and I am in compliance with the additional qualifications to practice in this
Court as set forth in Local Rule 2090-1(A) and that a true and correct copy of this Notice of Continued
Confirmation Hearing was served, via U.S. first class mail, certified mail and/or CM/ECF, upon the
parties listed on the attached service list this 18th day of September, 2023.


                                                                 /s/ Robin R. Weiner
                                                                 _____________________________________
                                                                 ROBIN R. WEINER, ESQUIRE
                                                                 STANDING CHAPTER 13 TRUSTEE
                                                                 P.O. BOX 559007
                                                                 FORT LAUDERDALE, FL 33355-9007
                                                                 TELEPHONE: 954-382-2001
                                                                 FLORIDA BAR NO.: 861154
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                                                      NOTICE OF CONTINUED CONFIRMATION HEARING
                                                                       CASE NO.: 23-12138-BKC-EPK

                                     SERVICE LIST

COPIES FURNISHED TO:

DEBTOR
JESSICA LEIGH SHROYER
108 S 15TH ST
FORT PIERCE, FL 34950

ATTORNEY FOR DEBTOR
COLIN LLOYD, ESQUIRE
HOSKINS & TURCO, P.L.
302 S. 2ND STREET
FT. PIERCE, FL 34950

COLIN LLOYD, ESQUIRE IS HEREBY DIRECTED TO MAIL A CONFORMED COPY OF THIS
NOTICE TO ALL CREDITORS AND INTERESTED PARTIES IMMEDIATELY UPON RECEIPT
THEREOF.
